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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:20-cv-03142-KLM

  MIDLAB, INC., a Tennessee Corporation,

  Plaintiff,

  v.

  Merrie Pisano Wycoff individually and as trustee of The Wycoff Family Trust; Wycoff
  Financial, LLC, a Colorado Limited Liability Company; Magnus Veritas LLC, a
  Colorado Limited Liability Company; and GCS452, LLC, a Colorado Limited Liability
  Company,

  Defendants.




         DEFENDANTS’ RESPONSES TO PLAINTIFF’S FIRST SET OF WRITTEN
                               DISCOVERY


          Defendants Merrie Pisano Wycoff (“Merrie Wycoff”); Wycoff Financial, LLC

  (“Wycoff”), Magnus Veritas, LLC (“Magnus”) and GCS452, LLC (“GCS452”) (collectively

  “Defendants”), pursuant to F.R.C.P. 33, 34 and 36, by and through their attorneys, hereby submits

  their responses to Plaintiff Midlab, Inc.’s Requests for Admission as to Genuineness of

  Documents, Requests for Admission, Interrogatories, and Requests for Production of Documents

  and Things to Defendants as follows:

                               QUALIFICATION TO RESPONSES

          Merrie Wycoff used her best efforts to respond to Plaintiff’s First Set of Written

  Discovery. Prior to Jeff Wycoff’s death, Merrie Wycoff had minimal involvement with the

  businesses they owned. She was not involved in the accounting or financial matters, nor does

  she have an accounting or business background. Plaintiff’s inquiries relating to the period prior

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  to Jeff Wycoff’s death seek information beyond her direct knowledge, as well as of the

  knowledge of anyone alive. She has attempted to answer the inquiries as best as she can,

  however, she had a minimal role in compiling or organizing business records prior to March 31,

  2018. As a result, many of the responses herein are the product of extrapolating from materials

  she has uncovered and viewed for the first time. In summary, her ability to attest to the accuracy

  of various transactions which preceded her husband’s death is limited.


                                     GENERAL OBJECTIONS

         The following general objections (“General Objections”) are made as to each and every

  discovery request and may not be repeated as to any specific request below, even though additional

  objections may also be asserted.

         General Objection No. 1. Defendants object to each Discovery Request to the extent that it

  seeks information that is protected from disclosure by any privilege or immunity, including the

  attorney-client privilege, the work-product immunity doctrine, or any other privilege, doctrine or

  immunity available by law. Any inadvertent disclosure of any privileged information shall not be

  deemed or construed to constitute a waiver of any privilege or right of Defendants.

         General Objection No. 2. Defendants object to each Discovery Request to the extent it

  seeks information that is neither relevant to the parties’ claims or defenses in the pending action,

  nor reasonably calculated to lead to the discovery of admissible evidence, nor proportional to the

  needs of the case.

         General Objection No. 3. Defendants object to each Discovery Request to the extent

  that it is vague, ambiguous, overbroad, unreasonably cumulative or duplicative, or to the extent

  that compliance with such Discovery Request would be unduly burdensome, annoying, or

  oppressive.

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          General Objection No. 4. Defendants object to each Discovery Request to the extent that

  it contains multiple subparts and/or multiple requests such that Plaintiff exceeds the number of

  requests to which it is entitled.

          General Objection No. 5. Defendants object to each Discovery Request to the extent it

  seeks materials or information already known to or in the possession of Plaintiff.

          General Objection No. 6. Defendants object to each Discovery Request to the extent it

  seeks information or documents not in their possession, custody, or control.

          General Objection No. 7. Defendants object to each Discovery Request and each

  Definition and Instruction to the extent it seeks to impose obligations or burdens on Defendants

  that are inconsistent with, or in excess of, those set forth in the Federal Rules of Civil Procedure.

  Defendants will respond to the Discovery Requests in compliance with the Federal Rules of Civil

  Procedure.

          General Objection No. 8. By submitting these answers, Defendants do not adopt

  Plaintiff’s purported definitions of words and phrases as used in the Requests. Defendants object

  to such definitions and usage to the extent that they are inconsistent with either: (1) the definitions

  set forth by Defendants in their responses or written discovery responses, or (2) the ordinary and

  customary meaning of such words and phrases. For ease of reference, however, Defendants have

  attempted in these responses to follow the Plaintiff’s naming conventions and abbreviations unless

  specifically stated otherwise.

          General Objection No. 9. Defendants reserve the right to supplement their responses as

  additional information and things are discovered, if any.

          Defendants incorporate their General Objections into their responses to the Plaintiff’s

  requests below. After having made reasonable inquiry and based upon information that is known



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  and subject to and without waiver of the foregoing objections, which Defendants hereby

  incorporate into each Response set forth below, Defendants state:


         REQUESTS FOR ADMISSION AS TO GENUINENESS OF DOCUMENTS

         Pursuant to Fed.R.Civ.P. 36, please admit the genuineness of the following documents that

  previously have been produced:

         REQUEST FOR ADMISSION No. 1: MIDLAB_000001 to MIDLAB_000002

         RESPONSE: Defendants are without information or knowledge sufficient to admit the

  genuineness of this document. Defendants admit that the signature appears to be that of Jeffrey

  Wycoff.

         REQUEST FOR ADMISSION No. 2: MIDLAB_000006 to MIDLAB_000011

         RESPONSE: Defendants are without information or knowledge sufficient to admit the

  genuineness of this document. Subject to and without waiving their general objections, Defendants

  admit that the signature appears to be that of Jeffrey Wycoff.

         REQUEST FOR ADMISSION No. 3: MIDLAB_000012 to MIDLAB_000014

         RESPONSE: Defendants admit that MIDLAB_12 through MIDLAB_13 are genuine.

  Defendants are without information or knowledge sufficient to admit the genuineness of

  MIDLAB_000014.

         REQUEST FOR ADMISSION No. 4: MIDLAB_000019 to MIDLAB_000030

         RESPONSE: Defendants are without information or knowledge sufficient to admit the

  genuineness of this document. Subject to and without waiving their general objections, Defendants

  admit that the signature appears to be that of Jeffrey Wycoff.




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         REQUEST FOR ADMISSION No. 5: MIDLAB_000031 to MIDLAB_000033

         RESPONSE: Defendants are without information or knowledge sufficient to admit the

  genuineness of this document. Subject to and without waiving their general objections, Defendants

  admit that the signature appears to be that of Jeffrey Wycoff.

         REQUEST FOR ADMISSION No. 6: MIDLAB_000034 to MIDLAB_000035

         RESPONSE: Defendants are without information or knowledge sufficient to admit the

  genuineness of this document. Subject to and without waiving their general objections, Defendants

  admit that the signature appears to be that of Jeffrey Wycoff.

         REQUEST FOR ADMISSION No. 7: MIDLAB_000036

         RESPONSE: Defendants are without information or knowledge sufficient to admit the

  genuineness of this document.

         REQUEST FOR ADMISSION No. 8: MIDLAB_000037

         RESPONSE: Defendants are without information or knowledge sufficient to admit the

  genuineness of this document.

         REQUEST FOR ADMISSION No. 9: MIDLAB_000038 to MIDLAB_000096

         RESPONSE: Subject to and without waiving their general objections, Defendants admit

  that this document appears to be a genuine copy.

         REQUEST FOR ADMISSION No. 10: MIDLAB_000097 to MIDLAB_000100

         RESPONSE: Subject to and without waiving their general objections, Defendants admit

  that MIDLAB_000097 appears to be a genuine copy. Defendants are without information or

  knowledge sufficient to admit the genuineness of MIDLAB_000098 through MIDLAB_000100.




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         REQUEST FOR ADMISSION No. 11: MIDLAB_000101 to MIDLAB_000104

         RESPONSE: Subject to and without waiving their general objections, Defendants admit

  that MIDLAB_000101 appears to be a genuine copy. Defendants are without information or

  knowledge sufficient to admit the genuineness of MIDLAB_000102 through MIDLAB_000104.

         REQUEST FOR ADMISSION No. 12: MIDLAB_000105 to MIDLAB_000109

         RESPONSE: Subject to and without waiving their general objections, Defendants admit

  that MIDLAB_000105 appears to be a genuine copy. Defendants are without information or

  knowledge sufficient to admit the genuineness of MIDLAB_000106 through MIDLAB_000109.

         REQUEST FOR ADMISSION No. 13: MIDLAB_000110

         RESPONSE: Subject to and without waiving their general objections, Defendants admit

  that this document appears to be a genuine copy.

         REQUEST FOR ADMISSION No. 14: MIDLAB_000203 to MIDLAB_000205

         RESPONSE: Subject to and without waiving their general objections, Defendants admit

  that this document appears to be a genuine copy.

         REQUEST FOR ADMISSION No. 15: MIDLAB_000206 to MIDLAB_000208

         RESPONSE: Subject to and without waiving their general objections, Defendants admit

  that this document appears to be a genuine copy.

         REQUEST FOR ADMISSION No. 16: The Settlement Agreement entered into as of

  August 3, 2018, attached hereto as Exhibit 1.

         RESPONSE: Subject to and without waiving their general objections, Defendants admit

  that this document appears to be a genuine copy.




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                                     REQUESTS FOR ADMISSION

         REQUEST FOR ADMISSION No. 1: Admit that the property located at 9417 and 9421

  North Foothills Highway, Longmont, CO 80503, sometimes known as the “Farm” or “Autumn Hill

  Farm” was under contract for a sale price of $3,300,000 at the time of Jeffrey Wycoff’s death.

         RESPONSE: Subject to and without waiving their general objections, Defendants admit

  that there was a contract dated March 5, 2018 in the amount of $3,300,000 for the property located

  at 9417 and 9421 North Foothills Highway, Longmont, CO 80503.

         REQUEST FOR ADMISSION No. 2: Admit that the contract price of $3,300,000 for

  the property known as the “Farm” or Autumn Hill Farm was negotiated in good faith and at arms-

  length with a buyer who was not an insider or affiliate of Wycoff Financial LLC.

         RESPONSE: Admitted.


                                      INTERROGATORIES

         Pursuant to Fed.R.Civ.P. 33, please answer the following interrogatories under oath. The

  person making the answers for each Defendant must sign them. In the event you answer any

  interrogatory or part of any interrogatory by reference to business records, please specify the

  records that must be reviewed by Bates numbers.

         INTERROGATORY NO. 1:               For this interrogatory, please refer to the following

  statements made in paragraphs B and E under the “Recitals” section of the Settlement Agreement

  attached hereto as Exhibit 1: “B. The Loan is guaranteed on a joint and several basis by Jeffrey B.

  Wycoff, now deceased, the Guarantors, Jeffrey B. Wycoff and Merrie Wycoff 2003 Insurance

  Trust u/a/d December 11, 2003 (‘Insurance Trust 1’), and Merrie Wycoff 2003 Insurance Trust u/

  a/d December 15, 2003 (‘Insurance Trust 2’; together with Insurance Trust 1, ‘Insurance Trusts’)

  pursuant to that certain Amended and Restated Guaranty made as of July 31, 2017).”; “E. Borrower

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  is in default under the terms of the Loan Documents, due to . . . (iii) the disclaimer of liability

  pursuant to the Guaranty by the Insurance Trusts based on the disbursement of the life insurance

  proceeds, the sole trust assets, to the beneficiaries.” Please also refer to paragraph 20 of the

  Settlement Agreement, which states: “The Recitals on the first page of this Agreement are hereby

  incorporated and made a part of this Agreement.”

         Please explain in detail the facts and circumstances surrounding the “default under the terms

  of the Loan Documents, due to . . . the disclaimer of liability pursuant to the Guaranty by the

  Insurance Trusts based on the disbursement of the life insurance proceeds, the sole trust assets, to

  the beneficiaries.” Your explanation should address, at minimum, the following facts and

  circumstances surrounding the default: an identification of the insurance policy or policies that paid

  benefits upon the death of Jeffrey Wycoff by policy number and name of the company; the amount

  of insurance benefits paid under each such policy upon Mr. Wycoff’s death and the date when

  such payments were made; the name of the “Insurance Trust” or other individual or entity that

  received each such payment; the “beneficiaries” to whom the “life insurance proceeds” were

  disbursed and the amounts and dates of such disbursements; and any other facts that you may wish

  to offer to explain why the “Insurance Trusts” committed the “disclaimer of liability pursuant to

  the Guaranty” rather than honoring the terms of the Guaranty.

         RESPONSE:         In addition to their general objections, Defendants object to this

  interrogatory as overly broad and unduly burdensome, and further object that Plaintiffs’ reference

  to paragraph E of the Settlement Agreement is unclear. Subject to and without waiving these

  objections, Defendants state they lack information about the default referenced in section E(iii) of

  the Settlement Agreement other than any such default was remedied consistent with recital F in




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  the Settlement Agreement. Defendants are unaware of any other facts surrounding a default “due

  to . . . the disclaimer of liability pursuant to the Guaranty.”

          INTERROGATORY NO. 2: Excluding claims made by BC24, LLC, the Internal

  Revenue Service, or Midlab, Inc., please identify each claim against Jeffrey Wycoff or his estate

  of which Merrie Wycoff or her attorneys or other agents received notice following his death. Please

  include the name, address, and telephone number of the individual or entity who made the claim,

  the amount of the claim, and the date the claim was made. “Claim” has the meaning defined by

  the Uniform Fraudulent Transfer Act as follows: “a right to payment, whether or not the right is

  reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,

  undisputed, legal, equitable, secured, or unsecured.”

          RESPONSE: Subject to and without waiving their general objections, Defendants state

  that this information and relevant documents responsive to this interrogatory have previously been

  provided to Plaintiff as follows:

          A.          Merrie Wycoff made a personal loan to ZAP! In the approximate amount of

  $200,000 in 2017 from monies she inherited from her mother, Jan E. Pisano. These monies were

  not repaid.

          B.          Merrie Wycoff received life insurance proceeds upon Jeff Wycoff’s death from

  State Farm Life Insurance in the amount of $3,453,301.95. These monies were used to satisfy the

  following debts, all of which were incurred prior to Mr. Wycoff’s death:

                (1)      Bluewater Media: owed $933,942.92, and was paid $107,200. See Boulder

                         District Court Case #2018CV03059.




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          (2)    CaseStack: claimed $175,470.54 and was paid $68,000. CaseStack obtained a

                 default judgment in September 2017. See California Superior Court, County

                 of Los Angeles Case No. BC636805.

          (3)    GenLabs : claimed $438,151.91. Settlement of $46,943. See U.S. District

                 Court for the Central District of California Case No. CV09-06146

          (4)    Hochman Salkin Tosher Tax Attorneys: claimed $368,275 and was paid

                 $15,437. See Defendants’ Initial Disclosures.

          (5)    NextWave: claimed approximately $300,000 and was paid $25,979.84. See

                 document produced as WYCOFF 1205-1208.

          (6)    Leisure Marketing Inc. and Wide Horizon Sales claimed $36,924.45 and

                 $53,617 respectively. See document produced as WYCOFF 1209. There was

                 no payment to either.

          (7)    Merrie Wycoff paid approximately $428,000 in credit card indebtedness owed

                 jointly by Jeff and Merrie Wycoff. These included credit cards to American

                 Express, Citibank, Capital One, and Vectra Bank. These credit card debts were

                 incurred primarily by Jeff Wycoff to pay business debts associated with ZAP!.

          (8)    Three & Two Films: owed $27,438.84, and were paid $2,738.

          (9)    SightLine Retail, LLC: default judgment for approximately $25,000, no

                 settlement. See Case number 04CV-18-1442-6, Circuit Court, Benton County,

                 Arkansas.

          (10)   Audi Flatirons: 2012 Audi vehicle loan $17,000, paid May 8, 2018.

          (11)   Property Taxes, Boulder County Treasurer: $9,850 paid on April 18, 2020, and

                 $6,591.96 paid on April 28, 2020.



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          (12)    Brownstein Hyatt Farber Schreck, LLP was owed approximately $175,000,

                  which amount was paid on April 20, 2018.

           (13)   Russell Leadingham: $250,000 loan dated November 5, 2017. Repayment of

                  principal and interest totaling $255,035.40 was made in July 2018.     See

                  documents produced as “Russell Loan Agreement 2017” and “Russell Paid

                  Loan 2018”. Russell Leadingham, 9417 N. Foothills Hwy Longmont, Co

                  80503.

           (14)   Loan from Rick Pisano in the amount of $114,109 made November 2017,

                  repaid in April 2018. Rick Pisano, 15148 Dickens Avenue, San Jose, CA

                  95124.

          (15)    Loan from Jon Pisano in the amount of $69,475.30 made in November 2017,

                  repaid in April 2018. Jon Pisano, P. O. Box 8176, Vallejo, CA 94591.

          (16)    Loan from Azuraye Wycoff in the amount of $50,000 made in November 2017,

                  repaid in April 2018.

          (17)    Loan from Devon Wycoff in the amount of $50,000 made in November 2017,

                  repaid in April 2018.

          (18)    Sanford (“Buddy”) Bing loaned $10,000 in April 2018, which was repaid in

                  April of 2018. Sanford Bing, 20 York Road, Pennington, NY 08334.

           (19)   David Wolf, Los Angeles Attorney was owed and paid $7,225. Law Offices of

                  David M. Wolf, 1801 Century Park East Suite 2100, Los Angeles, California

                  90067; Tel: 310.504.3667.

          (20)    Robert Henke, CPA was owed and paid $7,144




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         INTERROGATORY NO. 3: For each claim identified in response to the preceding

  interrogatory, state whether the claim has been settled or otherwise paid, including the date of any

  settlement agreement, the names of the individuals or entities who made the payments, and the

  dates and amounts of such payments.

         RESPONSE: See Answer to Interrogatory No. 2 and the document produced as WYCOFF

  1194-1195, as well as documents produced in response to Plaintiff’s Requests for Production.

         INTERROGATORY NO. 4: For any named defendant that is an entity, state the name,

  address, and telephone number of each person who is or was a member and each person who is or

  was a manager at any time from the date the entity was formed and continuing to present. If the

  membership or management has changed over time, state the dates when each such person was a

  member or a manager.

         RESPONSE: Subject to and without waiving their general objections, Defendants state

  as follows:

         The current members of GCS452, LLC are Azuraye J. Wycoff Irrevocable Trust utd June

  19, 2018 and Devon A. Wycoff Irrevocable Trust utd June 19, 2018. c/o Steven E. Abelman,

  Brownstein Hyatt Farber Schreck, LLP 410 17th Street, Suite 2200, Denver, Colorado 80202;

  3030.223.1100.

         Wycoff Financial, LLC was dissolved as of October 30, 2018. Merrie Pisano Wycoff was

  the sole member at the time of dissolution. Address and telephone: c/o Steven E. Abelman,

  Brownstein Hyatt Farber Schreck, LLP 410 17th Street, Suite 2200, Denver, Colorado 80202;

  3030.223.1100.

         The current members of Magnus Veritas, LLC are Azuraye J. Wycoff Irrevocable Trust

  utd June 19, 2018 and Devon A. Wycoff Irrevocable Trust utd June 19, 2018. c/o Steven



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  E. Abelman, Brownstein Hyatt Farber Schreck, LLP 410 17th Street, Suite 2200, Denver, Colorado

  80202; 3030.223.1100.

         INTERROGATORY NO. 5:               Describe the nature and duration of the relationship

  between Robert H. Henke, CPA, and Jeffrey and Merrie Wycoff, including whether Mr. Henke

  provided accounting services to Mr. and Mrs. Wycoff individually or also provided such services

  to entities that they owned or controlled and if so the names of each such entity, and the types of

  services that Mr. Henke provided to the Wycoffs or to each such entity, and the dates that Mr.

  Henke provided such services to the Wycoffs or each such entity.

         RESPONSE: Subject to and without waiving their general objections, Defendants state

  that Mr. Henke provided income tax preparation for the following persons and entities, during the

  following time periods:

         Sirius Products / 2000-2017

         Soapworks/Simplicity Intl / 2005-2017

         Autumn Hill Center, LLC / 2001-2017

         Antares Intl/Zap! Products, Inc. / 2006-Current

         Devraye Inc. / 2001-2007

         Zap 2 Intl. / 2006-2007

         Paradigm Inc. / 2006-2017

         Jeff and Merrie Wycoff / 2001-Current

         Compiled financial statements (irregularly rendered):

         Sirius Products / 2001-2011

         Soapworks/Simplicity Intl / 2006-2011

         Jeff and Merrie Wycoff / 2006-2017



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         INTERROGATORY NO. 6:                 For this interrogatory, please refer to the document

  previously produced by Plaintiff that is Bates labeled MIDLAB_000013 and titled “Jeffrey and

  Merrie Wycoff Statement of Financial Condition October 31, 2015.” Does this document present

  an accurate and complete statement of Jeffrey and Merrie Wycoff’s financial condition as of October

  31, 2015? If not, please identify each way in which the information provided on the document is

  inaccurate or incomplete, and state the information necessary to make the document an accurate and

  complete statement of Jeffrey and Merrie Wycoff’s financial condition as of October 31, 2015.

         RESPONSE: Subject to and without waiving their general objections, Merrie Wycoff relied

  upon her husband’s knowledge of their financial condition for purposes of the October 31, 2015

  Statement of Financial Condition. Due to the trust she reposed in Jeff Wycoff, she believes it was

  reasonably accurate and complete at that time. However, she did not perform any investigation nor

  was she knowledgeable about the precise state of their financial affairs. Given the subsequent

  judgment obtained by the Internal Revenue Service, Merrie Wycoff understands that her husband’s

  reliance on their tax attorneys’ assessment of their tax liability was ill advised. She believed at that

  time the IRS dispute was in the process of being resolved in their favor.

         INTERROGATORY NO. 7: Please identify each matter that the law firm Brownstein

  Hyatt Farber Schreck had handled for Jeffrey Wycoff, Merrie Wycoff, Wycoff Financial, LLC,

  Zap! Products, LLC, or any other entity or trust owned or controlled by Jeffrey Wycoff or Merrie

  Wycoff prior to November 4, 2015. The identification should include the dates of the

  representation on the matter, the name of each lawyer who worked on the matter, and a brief

  statement that describes the general nature of work performed.

         RESPONSE: Subject to and without waiving their general objections, including their

  objection to interrogatories requesting information that is subject to attorney client privilege,



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  Defendants’ answer is as follows: Brownstein Hyatt Farber Schreck, LLP was retained by ZAP!

  Products in October 2013 to perform general corporate and commercial work which included

  obtaining financing through lending or potential equity sources.

         INTERROGATORY NO. 8: For this interrogatory, reference is made to the document

  previously produced by Plaintiff Bates labeled MIDLAB_000013 and titled “Jeffrey and Merrie

  Wycoff Statement of Financial Condition October 31, 2015”and in particular the statement “Cash/

  Cash Equivalents $904,000.” For each bank or securities account that Jeffrey Wycoff owned or

  controlled, whether or in whole or in part, and whether directly or through any entity or trust, as of

  October 31, 2015, state the name, address, and telephone number of the bank or other financial

  institution, the account number of the account, and the balance on the account as of October 31, 2015.

         RESPONSE: In addition to their general objections, Defendants object to this request as

  it requests information of a non-party. Subject to and without waiving their objections, Defendants

  state they are without information or knowledge sufficient to answer this interrogatory.

         INTERROGATORY NO. 9: Identify each lawsuit, arbitration, or other legal proceeding

  to which Jeffrey Wycoff, Merrie Wycoff, or any entity or trust controlled by either or both of them

  was a party between the period January 1, 2014, to present, including the full name of the legal

  proceeding, the case number, the name of the court or arbitration organization, and the name,

  address, and telephone number of each party and each party’s legal counsel.

         RESPONSE: Subject to and without waiving their general objections, Defendants state

  that this information has either already been provided to Plaintiff or is publicly available to it.

  Defendants also refer Plaintiff to the answer to Interrogatory No. 2 above and documents produced

  as responsive to its Requests for Production of Documents.




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         INTERROGATORY NO. 10: Provide an inventory of property owned or controlled by

  Jeffrey Wycoff in whole or part immediately prior to his death, whether such property was titled

  in Jeffrey Wycoff’s name or was in the name of any entity or trust controlled in part or in whole

  by Jeffrey Wycoff. The inventory must list the property in reasonable detail, indicating Jeffrey

  Wycoff’s interest in the property, and include the fair market value as of the date of his death. The

  type and amount of any liens and encumbrances on the property must also be listed.

         RESPONSE: In addition to their general objections, Defendants object to the extent this

  interrogatory seeks information from a non-party and state that certain information regarding real

  estate liens and encumbrances are publicly available to Plaintiff. Subject to and without waiving

  their objections, Defendants refer Plaintiff to documents provided in response to Plaintiff’s request

  for production, including but not limited to documents related to 9417 and 9421 North Foothills

  Highway, Longmont, Colorado.


             REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS

         Pursuant to Fed.R.Civ.P. 34, please produce all documents in your possession, custody,

  or control that are responsive to the following requests.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 1: Produce all emails, text

  messages, letters, facsimiles, or other written communications between (a) any individual or entity

  that signed the Settlement Agreement attached hereto as Exhibit 1, or any attorney or other agent

  of such individual or entity, and (b) BC24, LLC, Honigman Miller Schwartz and Cohn LLP, or

  any other agent or attorney representing BC24, LLC.

         RESPONSE: Subject to and without waiving their general objections, Defendants will

  produce responsive, non-privileged documents.




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         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 2: For this request, reference

  is made to the “Settlement Agreement” attached as Exhibit 1 hereto. Produce each document that

  is referenced under the “Recitals.”

         RESPONSE: In addition to their general objections, Defendants object to this request to

  the extent it seeks documents that are publicly available. Subject to and without waiving their

  objections, Defendants will produce responsive, non-privileged documents.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 3: For this request, reference

  is made to the “Settlement Agreement” attached as Exhibit 1 hereto and specifically the recitals in

  paragraphs B and E. For each policy of life insurance that was in force at the time of Jeffrey

  Wycoff’s death and insured his life, produce the policy and any forms that designated the

  beneficiaries of such policy or made changes to the beneficiary designations.

         RESPONSE: Subject to and without waiving their general objections, Defendants state

  that non-privileged, responsive documents will be produced.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 4: For each defendant that

  is other than a natural person, produce all organizational and governing documents for that

  defendant, including any articles of organization, operating or other governing agreements or

  instruments, any and all amendments or supplements to the foregoing, all minutes or resolutions,

  and all attachments to any of the foregoing.

         RESPONSE: In addition to their general objections, Defendants object to this request

  because certain of these documents are publicly available to Plaintiff. Subject to and without

  waiving their objections, Defendants will produce responsive, non-privileged documents.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 5: For this request, reference

  is made to the document previously produced by Plaintiff Bates labeled MIDLAB_000013 and



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  titled “Jeffrey and Merrie Wycoff Statement of Financial Condition October 31, 2015.” Produce

  any and all documents that substantiate that the statements of assets, liabilities, and net worth on

  that document were true or, if they were untrue, show the actual value of each category or asset

  and actual amount of each category of liability as of October 31, 2015.

         RESPONSE:         Subject to and without waiving their general objections, including

  specifically that Request No. 5 is overly broad and unduly burdensome, Defendants will produce

  non-privileged, responsive documents, to the extent they exist.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 6: For any bank or securities

  account that Jeffrey Wycoff owned or controlled as of October 31, 2015, whether in whole or in

  part, and whether directly or through any entity or trust, produce all monthly or other periodic

  statements with check images for the period beginning January 1, 2015, and continuing to the

  present.

         RESPONSE: In addition to their general objections, Defendants object to this request as

  it requests documents of a non-party that are not in their custody or control, nor likely to lead to

  the discovery of admissible evidence. In addition, the request is overly broad and unduly

  burdensome. Subject to and without waiving their objections, Defendants will produce non-

  privileged documents responsive to this request to the extent they exist.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 7: Produce all emails, letters,

  facsimiles, or other written communications between (a) Jeffrey Wycoff, Merrie Wycoff, or any agent

  or representative of either of them, and (b) Robert H. Henke that were made in connection with the

  preparation of the documents previously produced by Plaintiff Bates labeled MIDLAB_000012 or

  MIDLAB_000013 or that refer in any way to Midlab or to the documents previously produced by

  Plaintiff Bates labeled MIDLAB_000012 OR MIDLAB_000013.



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         RESPONSE: Subject to and without waiving their general objections, Defendants will

  produce non-privileged, responsive documents, to the extent they exist and are in the Defendants’

  custody or control.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 8: Produce any and all

  statements of financial condition, balance sheets, tax returns, or other documents reflecting assets,

  liabilities, or net worth, for Jeffrey Wycoff or Merrie Wycoff or both that were provided to any

  actual or potential vendor, lender, or other creditor between January 1, 2015, and present.

         RESPONSE: In addition to their general objections, Defendants object to this request as

  it requests documents of a non-party that are not in their custody or control. Subject to and without

  waiving their objections, Defendants will produce non-privileged, responsive documents to the

  extent they exist.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 9: Produce all emails, text

  messages, letters, facsimiles, or other written communications between (a) Jeffrey Wycoff, Merrie

  Wycoff, Wycoff Financial LLC, or any agent or representative of any of them, and (b) any real

  estate agent or broker, appraiser, or actual or potential buyer concerning the real property located

  at 9417 and 9421 North Foothills Highway, Longmont, CO 80503. The timeframe for this request

  is January 1, 2015, to present.

         RESPONSE: In addition to their general objections, Defendants object to this request as

  it requests documents of a non-party that are not in their custody or control. Defendants further

  object to this request in that these documents are already in the possession of the Plaintiff, having

  been produced pursuant to a subpoena issued by it. Subject to and without waiving their objections,

  Defendants will produce responsive, non-privileged documents.




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          REQUEST FOR PRODUCTION OF DOCUMENTS NO. 10: Produce all emails, text

  messages, letters, facsimiles, or other written communications between (a) Jeffrey Wycoff, Merrie

  Wycoff, Wycoff Financial LLC, or any agent or representative of any of them, and (b) any real estate

  agent or broker, appraiser, or actual or potential buyer concerning the real property located at 3018

  S. Lakeridge Trail, Boulder, CO 80302. The timeframe for this request is January 1, 2015, to

  present.

          RESPONSE: In addition to their general objections, Defendants object to this request as

  it requests documents of a non-party that are not in their custody or control. Defendants further

  object to this request in that these documents are already in the possession of the Plaintiff, having

  been produced pursuant to a subpoena issued by it. Subject to and without waiving their objections,

  Defendants will produce responsive, non-privileged documents.

          REQUEST FOR PRODUCTION OF DOCUMENTS NO. 11: Produce all emails, text

  messages, letters, facsimiles, or other written communications between (a) Merrie Wycoff or Wycoff

  Financial, LLC or either of their agents, attorneys, or other representatives, and (b) Magnus Veritas,

  LLC or Azuraye Wycoff or Devon Wycoff or any of their agents, attorneys, or other representatives,

  concerning the real property located at 9417 and 9421 North Foothills Highway, Longmont, CO

  80503. If any claim of attorney-client privilege is made in response to this request, please be specific

  when describing which attorneys represented which party or parties to each communication claimed

  to be privileged.

          RESPONSE: Defendants object to this request as it seeks information that is attorney client

  and/or attorney work product privileged and will not produce documents responsive to this request.

  Subject to and without waiving those objections, Defendants state that Steven Abelman, Kevin




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  Cudney and Sara Mares of Brownstein Hyatt Farber Shreck, LLP have represented the Defendants.

  Defendants also object to this request as overly broad and burdensome.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 12: Produce all emails, text

  messages, letters, facsimiles, or other written communications between (a) Merrie Wycoff or

  Wycoff Financial, LLC or either of their agents, attorneys, or other representatives, and (b)

  GSC452, LLC or Azuraye Wycoff or Devon Wycoff or any of their agents, attorneys, or other

  representatives, concerning the real property located at 3018 South Lakeridge Trail, Boulder, CO

  80302. If any claim of attorney-client privilege is made in response to this request, please be

  specific when describing which attorneys represented which party or parties to each

  communication claimed to be privileged.

         RESPONSE: Defendants object to this request as it seeks information that is attorney client

  and/or attorney work product privileged and will not produce documents responsive to this request.

  Subject to and without waiving those objections, Defendants state that Steven Abelman, Kevin

  Cudney and Sara Mares of Brownstein Hyatt Farber Shreck, LLP have represented the Defendants.

  Defendants object to this request as overly broad and burdensome.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 13:                                Produce all bank

  statements, check images, wire transfer records, real estate settlement statements, or other

  documents that show whether and to what extent life insurance proceeds, directly or indirectly,

  were used to acquire either or both of the real properties located at 9417 and 9421 North Foothills

  Highway, Longmont, CO 80503 and 3018 South Lakeridge Trail, Boulder, CO 80302.

         RESPONSE: In addition to their general objections, Defendants object to this request as

  it requests documents of a non-party that are not in their custody or control. Subject to and without

  waiving their objections, Defendants will produce responsive, non-privileged documents.



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          REQUEST FOR PRODUCTION OF DOCUMENTS NO. 14: For this request, please

  refer to the document attached hereto as Exhibit 1 and paragraph B under “Recitals.” Produce the

  declaration of trust, or trust agreement, or other trust instrument together with any supplements,

  amendments, or attachments, for each of the “Insurance Trusts.”

          RESPONSE: None exist, to the best of Defendants’ knowledge.

          REQUEST FOR PRODUCTION OF DOCUMENTS NO. 15: For the period January

  1, 2018, to present, produce check images or bank records showing payment of expenses

  associated with the real property located at 9417 and 9421 North Foothills Highway, Longmont,

  CO 80503 or at 3018 South Lakeridge Trail, Boulder, CO 80302 including real estate taxes,

  property insurance, utilities, and repairs or improvements.

          RESPONSE: Defendants object to this request as overly broad and burdensome and not

  relevant to Plaintiff’s claims or proportional to the needs of the case. Subject to and without

  waiving their general objections, Defendants will produce responsive, non-privileged documents

  to the extent they exist.

          REQUEST FOR PRODUCTION OF DOCUMENTS NO. 16: Produce all emails,

  letters, or other written communications related to property insurance for the real property located

  at 9417 and 9421 North Foothills Highway, Longmont, CO 80503 or at 3018 South Lakeridge

  Trail, Boulder, CO 80302 together with declarations reflecting the named insureds.

          RESPONSE: In addition to their general objections, Defendants object to this request as

  it requests documents of a non-party that are not in their custody or control. Defendants object to

  this request as overly broad and burdensome and not relevant to Plaintiff’s claims or proportional

  to the needs of the case. Subject to and without waiving their objections, Defendants will produce

  responsive, non-privileged documents.



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         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 17: Produce federal and

  state tax returns, including all schedules and K-1s, for Magnus Veritas, LLC, for the years 2018

  continuing to present.

         RESPONSE: Subject to and without waiving their general objections, Defendants will

  produce responsive, non-privileged documents.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 18: Produce federal and

  state tax returns, including all schedules and K-1s, for GCS452, LLC, for the years 2018 continuing

  to present.

         RESPONSE: Subject to and without waiving their general objections, Defendants will

  produce responsive, non-privileged documents.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 19: Produce federal and

  state tax returns, including all schedules and K-1s, for Wycoff Financial, LLC, for the years 2015

  continuing to present.

         RESPONSE: Subject to and without waiving their general objections, Defendants will

  produce responsive, non-privileged documents to the extent they exist and can be located.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 20: For any individual or

  entity identified in response to Interrogatory No. 2, produce all emails, letters, facsimiles,

  settlement agreements, or other written communications concerning such individual or entity’s

  claim against Jeffrey Wycoff’s estate.

         RESPONSE: Defendants object to this request as overly broad and unduly burdensome.

  Subject to and without waiving their general objections, Defendants will produce responsive, non-

  privileged documents.




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          REQUEST FOR PRODUCTION OF DOCUMENTS NO. 21: For any payment to any

  person identified in response to Interrogatory No. 3, produce all bank statements, check images,

  wire transfer records, or other records that trace or otherwise show any and all transfers of money

  by or among any of the Defendants, or Azuraye Wycoff, Devon Wycoff, or any entity or trust

  controlled by any of them, or any agent or attorney of any of them, to facilitate the making of such

  payment.

          RESPONSE: In addition to their general objections, Defendants object to this request in

  that it seeks documents from non-parties and/or documents subject to attorney client and/or

  attorney work product privilege. Defendants object to this request as unduly burdensome. Subject

  to and without waiving their objections, Defendants will produce responsive non-privileged

  documents.

          REQUEST FOR PRODUCTION OF DOCUMENTS NO. 22: Produce any and all

  documents that were considered or reviewed in connection with the preparation of responses to

  the foregoing interrogatories.

          RESPONSE: Subject to and without waiving their general objections, Defendants will

  produce responsive non-privileged documents.

          REQUEST FOR PRODUCTION OF DOCUMENTS NO. 23: Produce any documents

  obtained, prepared, or exchanged in connection with any listing for sale, negotiations to purchase or

  sell, offer or counteroffer to purchase or sell, or actual purchase or sale of the real property located at

  9417 and 9421 North Foothills Highway, Longmont, CO 80503, including without limitation any

  surveys, property inspections, reports, due diligence materials, appraisals, offers, counteroffers,

  inspection objections, title commitments, closing documents, or written communications concerning

  the same.



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         RESPONSE: Subject to and without waiving their general objections, Defendants will

  produce responsive, non-privileged documents.

         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 24:                          For this request,

  reference is made to the document Bates labeled Wycoff 000068 previously produced by

  Defendants, which is the “Sellers Statement of Settlement” prepared by Land Title Guaranty

  Company in connection with the transfer of the real property located at 9417 and 9421 North

  Foothills Highway, Longmont, CO 80503 by Wycoff Financial, LLC to Magnus Veritas, LLC.

  The document references an amount of $39,621.61 “Due from Seller/Owner.” Produce all bank

  records, check images, wire transfer records, or other documents that show the payment of the

  $39,621.61 amount and, if applicable, any transfers of money that were made in connection with

  funding all or part of the $39,621.61 amount.

         RESPONSE: Subject to and without waiving their general objections, Defendants will

  produce all responsive, non-privileged documents.




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  Dated this 17th day of March, 2021.




                                        /s Steven E. Abelman
                                        Steven E. Abelman
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                                        Attorneys for Defendants




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                                     CERTIFICATE OF SERVICE

       I hereby certify that on March 17, 2021, I electronically emailed the foregoing
  DEFENDANTS’ RESPONSES TO PLAINTIFF’S FIRST SET OF WRITTEN
  DISCOVERY to the following:

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